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 1   JOEL D. JOSEPH
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 5                                                              BY                            --·· -------~
                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     JOEL D. JOSEPH,                              CASE NO: 19-cv-1357-GPC-MSB
 8
              Plaintiff,                          VERIFIED FIRST AMENDED COMPLAINT
 9                                                FOR RACKETEER INFLUENCED AND
                   v.                             CORRUPT ORGANIZATIONS ACT
10                                                COPYRIGHT INFRINGEMENT

11   INTERNET ARCHIVE

12          Defendant.

13

14
15                                    I. NATURE OF THE CASE
16          1. This is a complaint for copyright infringement and violations of the Racketeer
17
     Influenced Corrupt Organizations Act. Plaintiff wrote a book titled, "Black Mondays: Worst
18
     Decisions of the Supreme Court," and registered it with the U.S. Copyright Office. The
19
     Internet Archive published the book online without authorization and has refused to pay any
20
     compensation to the plaintiff. The Internet Archive publishes more than two million books
21
     of many authors without their permission or consent.
22
23
                                 II. JURISDICTION AND VENUE
24          2. This is a civil action seeking damages for copyright infringement under the
25
     Copyright Act of the United States, 17 U.S.C. §10 I, et seq.
26
            3. This Court has subject matter jurisdiction over this copyright infringement action
27
     pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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                                              I
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 1
             4. This Court has personal jurisdiction over Defendant since it is a California
 2
     corporation.
 3
             5. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and
 4
 5   (c), and/or§ 1400(a).

 6                                           III. THE PARTIES

 7           6. Plaintiff is the author of the copyrighted work that is the subject of this case. He is a

 8   California resident and lives in San Diego County.
 9           7. Internet Archive is a California corporation.
10
                                      IV. FACTUAL ALLEGATIONS
11
             8. Plaintiff wrote a book entitled, "Black Mondays: Worst Decisions of the Supreme
12
     Court" in 1987.
13
             9. Plaintiff has written and had published four editions of this book.
14
            10. Plaintiff filed for and received a copyright registration on the article from the United
15
16   States Copyright Office. A copy of the copyright registration is attached to this complaint as

17   Exhibit A for the copyright of the Fourth Edition.

18          11. For more than ten years, the Internet Archive provided free internet access to the

19   general public to plaintiff's book, "Black Mondays: Worst Decisions of the Supreme Court" at
20   http://www.archive.org allowing anyone to acquire the book without charge.
21
             12. Even though Internet Archive was given written notice of violating plaintiffs
22
     copyright, it continues to the present day to offer the book for free to the public for copying.
23
             13. Plaintiff asked defendant for compensation for publishing the book, but the defendant
24
     refused to pay anything to plaintiff.
25
26           14. The Internet Archive is one of the world's largest public digital libraries, with an

27   extensive collection of human culture: two million books, most published without permission. At

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                                     FIRST AMENDED COMPLAINT
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     least two books published without permission were published by plaintiff, including Advice &
 2
     Consent by Senator Paul Simon and Katharine the Great by Deborah Davis. Plaintiff lost income
 3
     as a result of this illegal publishing by defendant.
 4
 5           15. The Internet Archive began a program to digitize books in 2005 and today and scans

 6   1,000 books per day without permission from authors or publishers.

 7           16. The Internet Archives operates OpenLibrary .org is comprised of a free, digital

 8   lending library of over two million eBooks that can be read in a browser or downloaded for
 9   reading off-line.
10
            VI. First Cause of Action: For Violations Of Sections 1962(c) And (d) Of RICO
11
             17. Plaintiff incorporates paragraphs one through 16 inclusive.
12
             18. This claim arises under §1964(c) of RICO and plaintiff seeks to
13
14   recover actual and treble damages based upon defendants' violations of 18
15   U.S.C. §1962(c)-(d), as described more fully below.
16
            19. At all times relevant hereto, the plaintiff and the defendant
17
     constituted "persons" within the meaning of 18 U.S.C. §1961(3).
18
19          20. Defendant is engaged in interstate acts of commerce and the acts

20   alleged herein have a demonstrable effect on interstate commerce.
21
            21. Section 1961(4) of RICO defines the term "enterprise" to include
22
     "any individual, partnership, corporation, association, or other legal entity,
23
24   and any union or group of individuals associated in fact although not a legal

25   entity." 18 U.S.C. §1961(4).
26
            22. At all times relevant hereto, pursuant to the numerous agreements
27
     that were negotiated and executed between the defendant and others, they
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                                     FIRST AMENDED COMPLAINT
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     have formed a series of association-in-fact enterprises within the meaning of
 2
 3   18 U.S.C. §1961(4) for the purpose of committing numerous acts of

 4   racketeering activity, including theft of property worth more than $15,000,
 5
     violation of 18 U.S.C. § 1344, which has a maximum prison term of thirty
 6
     years and is expressly included in the RICO statute as a predicate act.
 7

 8         23. These enterprises are identified as follows:

 9         Internet Archive
10
           OpenLibrary .org
11
           Brewster Kahle.
12

13         24. Defendant has engaged in a pattern of racketeering activity, as

14   defined in §1961(5) of RICO, by committing and/or aiding and abetting at
15   least two such acts of racketeering activity within the past 10 years. Each
16
     such act of racketeering activity was related, had similar purposes, involved
17

18
     the same or similar participants and methods of commission, and had similar

19   results impacting upon similar victims, including plaintiff.
20         25. Section 1961(1) of RICO provides that a "person" commits and act of
21
     "racketeering activity" by engaging in (a) "any act or threat involving ... theft
22
     ... which is chargeable under State law and punishable by imprisonment for
23
24   more than one year," 18 U.S.C. §1961(1)(A), and/or (b) "any act which is
25   indictable under" any of a number of provisions of Title 18, U.S. Code, 18
26
     U.S.C. §1961(1)(B), including criminal copyright infringement.
27
          . 26. Defendant has either engaged in and/or aided and abetted predicate
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                                          4
                              FIRST AMENDED COMPLAINT
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 1
     acts of racketeering activity in violation of state and federal law.
 2
 3         27. In addition to the defendants' acts as alleged herein, it also

 4   committed the following predicate acts:
 5
     A. Theft, ("A person commits the offense of theft ifhe or she unlawfully takes,
 6
     uses or consumes the property or services of another with intent to
 7
 8   permanently deprive the owner of his or her rights to the property or

 9   services."). By either knowingly, recklessly disregarding or reasonably being
10
     in a position to know the underlying acts of racketeering activity as described
11
     above committed by the defendants and/or its agents, but neither preventing
12

13   nor reporting said conduct and in fact profiting thereby.

14   B. Criminal Copyright Infringement under 17 U.S.C. § 506(a).

15         28. In violation of 18 U.S.C. §1962(c), the defendant conducted or
16   participated, either directly or indirectly, in the conduct of each of the above-
17
     referenced enterprises' affairs through a pattern of racketeering activity, as
18
     described above.
19

20         29. Defendant, and its co-conspirators, agreed and conspired amongst
21   each other to conduct or participated, directly. or indirectly, in the conduct of
22
     the above-referenced enterprises' affairs through a pattern of racketeering
23
     activity, in violation of 18 U.S.C. §1962(d).
24

25         30. As a direct and proximate result of defendant's violations of 18

26   U.S.C. §§1962(c) and (d), plaintiff has been injured in his business or
27
     property. Pursuant to 18 U.S.C. §1964(c), plaintiff is entitled to bring this
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     action and to recover herein actual and treble damages, the costs of bringing
 2
 3   this suit and attorneys' fees.

 4          VI. Second Cause of Action: Violations Of Sections 1962(a) And (d) Of RICO

 5         31. Plaintiff incorporates by reference paragraphs one through 30,
 6
     inclusive.
 7
           32. This claim for relief arises under §1964(c) of RICO and seeks to
 8

 9   recover actual and treble damages based on defendant's violations of §1962(a)

10   and (d) of RICO.
11
           33. In violation of§ 1962(a) and (d) of RICO, defendant conspired to
12
     derive, and did derive, substantial proceeds through the above-described
13
14   pattern of racketeering activity and conspired to use or invest, and used or

15   invested, such proceeds in the operation of the association-in-fact enterprises
16
     detailed in above.
17
           34. As a direct and proximate result of defendant's violations of
18

19   §1962(a) and (d) of RICO, plaintiff has been injured in his business or

20   property. Pursuant to §1964(c) of RICO, plaintiff is entitled to bring this
21
     action and to recover herein actual and treble damages, the costs of bringing
22
     this suit and attorneys' fees.
23
24         35. Defendant committed the acts alleged herein maliciously,

25   fraudulently and oppressively with the wrongful intention of injuring plaintiff
26
     and others, in an improper motive amounting to malice, in conscious
27
     disregard of plaintiffs rights. Plaintiff is thus also entitled to recover
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                                                6
                                FIRST AMENDED COMPLAINT
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 1
     exemplary damages from defendant in an amount to be established at trial
 2
 3   but relating to the total monies obtained by defendant as a result of their

 4   participation in this illegal and oppressive scheme.
 5              VIII. CAUSE OF ACTION FOR COPYRIGHT INFRINGEMENT
 6
                36. Plaintiff incorporates by reference paragraphs one through 35, inclusive.
 7
                37. Defendant has violated plaintiff's copyright to the book .Black Mondqps online.
 8
                38. Defendant's acts of infringement were willful, intentional and purposeful, in complete
 9
     disregard of and with indifference to plaintiff's rights.
10

11              39. Plaintiff is hereby seeking statutory damages in the amount of$150,000 per day, for

12   every day that the book was published online without plaintiff's consent, pursuant to 17 U.S.C. §

13   504(c), for every day that this infringement occurred.

14              40. Plaintiff further is entitled to his attorneys' fees and full costs pursuant to I 7
15   U.S.C. § 505 and otherwise according to law.
16
                WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
17
                        I.     For copyright statutory damages in the amountof$150,000 per day
18
     for every day that the defendant continued to publish online and in print plaintiff's copyrighted
19
     article;
20
                       2.      For actual damages under RICO;
21

22                     3.      For treble damages under RICO;

23                     4.      For a court order dismantling and abolishing the free book

24   distribution of defendant, except for books whose copyright has expired or books in the

25   public domain;

26                     5.      For attorneys' fees and costs; and
27
                       6.      Such other relief as this court deems just and proper.
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                                                    7
                                        FIRST AMENDED COMPLAINT
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            I affirm, under the penalties for perjury, that all factual allegations in this complaint are to
 2
     the best ofmy knowledge, accurate and truthful.
 3
 4

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                                                   joeldjoseph@gmail.com
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                                    FIRST AMENDED COMPLAINT
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 2                                               Jury Demand

 3          Plaintiff demands a trial by jury.

 4
 5
 6                                          Certificate of Service

 7          I certify that I have mailed a copy ofthis First Amended Complaint to Joseph C. Gratz,

 8   attorney for defendant, Durie Tangri, 217 Leidesdorff Street, San Francisco, California 94111,

 9   this 22°d day of August, 2019.
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 15                              Exhibit A
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